       Case 24-41182-TLS                    Doc 11 Filed 03/20/25 Entered 03/20/25 23:16:18                                              Desc Imaged
                                                 Certificate of Notice Page 1 of 4
                                                              United States Bankruptcy Court
                                                                   District of Nebraska
In re:                                                                                                                 Case No. 24-41182-TLS
Phyllis Patrice Medrano                                                                                                Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0867-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 18, 2025                                               Form ID: B318                                                             Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 20, 2025:
Recip ID                 Recipient Name and Address
db                     + Phyllis Patrice Medrano, P.O. Box 267, Stratton, NE 69043-0267
5423830                  Elan Fin Svcs/ent Cu, Cb Disputes, Saint Louis, MO 63166
5423833                + Hitchcock County Attorney, P.O. Box 248, Hayes Center, NE 69032-0248
5423834                + Hitchcock County Treasurer, PO Box 248, Trenton, NE 69044-0248

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: QPMKELLY.COM
                                                                                        Mar 19 2025 01:10:00      Philip M. Kelly, Chapter 7 Trustee, PO Box 419,
                                                                                                                  105 E. 16th Street, Scottsbluff, NE 69361-3140
5423826                + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                                        Mar 18 2025 21:11:00      ChexSystems, 2900 Lone Oak Pkwy Suite 125,
                                                                                                                  Eagan, MN 55121-1594
5423828                + EDI: CITICORP
                                                                                        Mar 19 2025 01:10:00      Citibank/The Home Depot, Citicorp Cr
                                                                                                                  Srvs/Centralized Bankruptcy, Po Box 790040, St
                                                                                                                  Louis, MO 63179-0040
5423829                + EDI: DISCOVER
                                                                                        Mar 19 2025 01:10:00      Discover Financial, Attn: Bankruptcy, Po Box
                                                                                                                  3025, New Albany, OH 43054-3025
5423821                   Email/Text: bankruptcycourts@equifax.com
                                                                                        Mar 18 2025 21:11:00      Equifax, Attn: Bankruptcy Dept., P.O. Box
                                                                                                                  740241, Atlanta, GA 30374
5423822                ^ MEBN
                                                                                        Mar 18 2025 21:06:51      Experian, Attn: Bankruptcy Dept., P.O. Box 2002,
                                                                                                                  Allen, TX 75013-2002
5423832                   Email/Text: bkdocs@guildmortgage.net
                                                                                        Mar 18 2025 21:11:00      Guild Mortgage Company, Attn: Bankruptcy, 5887
                                                                                                                  Copely Dr, Fl 1, San Diego, CA 92111
5423831                + Email/Text: bankruptcy@greenskycredit.com
                                                                                        Mar 18 2025 21:11:00      GreenSky, Attn: Bankruptcy, 5565 Glenridge
                                                                                                                  Connector Suite #700, Atlanta, GA 30342-4796
5423825                   EDI: IRS.COM
                                                                                        Mar 19 2025 01:10:00      Department of the Treasury, Financial
                                                                                                                  Management Services, P.O. Box 1686,
                                                                                                                  Birmingham, AL 35201-1686
5423835                + EDI: JPMORGANCHASE
                                                                                        Mar 19 2025 01:10:00      Jpmcb, MailCode LA4-7100, 700 Kansas Lane,
                                                                                                                  Monroe, LA 71203-4774
5423827                   Email/Text: Rev.BNC@nebraska.gov
                                                                                        Mar 18 2025 21:11:00      Nebraska Department of Revenue, Attn:
                                                                                                                  Bankruptcy Unit, P.O. Box 94818, Lincoln, NE
                                                                                                                  68509-4818
5423836                ^ MEBN
                                                                                        Mar 18 2025 21:07:10      Service Finance Company, Attn: Bankruptcy, Po
                                                                                                                  Box 2935, Gainesville, GA 30503-2935
5423837                + EDI: SYNC
                                                                                        Mar 19 2025 01:10:00      Synchrony Bank/Care Credit, Attn: Bankruptcy,
                                                                                                                  Po Box 965060, Orlando, FL 32896-5060
5423820                   Email/Text: epr@telecheck.com
                                                                                        Mar 18 2025 21:11:00      TeleCheck Services, Inc., 5251 Westheimer,
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District/off: 0867-4                                               User: admin                                                            Page 2 of 2
Date Rcvd: Mar 18, 2025                                            Form ID: B318                                                        Total Noticed: 19
                                                                                                            Houston, TX 77056
5423823                ^ MEBN
                                                                                   Mar 18 2025 21:06:47     Transunion, Attn: Bankruptcy Dept., P.O. Box
                                                                                                            1000, Crum Lynne, PA 19022

TOTAL: 15


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
5423824           *             Internal Revenue Service, P.O. Box 7346, Philadelphia, PA 19101-7346

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 20, 2025                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 17, 2025 at the address(es) listed
below:
Name                              Email Address
Jeremiah Luebbe
                                  on behalf of Debtor Phyllis Patrice Medrano Office@steffenslaw.com steffenswr70363@notify.bestcase.com

Jerry L. Jensen
                                  ustpregion13.om.ecf@usdoj.gov

Philip M. Kelly
                                  pmktrustee@scottsblufflaw.com pkelly@ecf.axosfs.com


TOTAL: 3
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Information to identify the case:
Debtor 1
                       Phyllis Patrice Medrano                                      Social Security number or ITIN   xxx−xx−9506
                                                                                    EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

Debtor 2                                                                            Social Security number or ITIN _ _ _ _
                       First Name     Middle Name      Last Name
(Spouse, if filing)                                                                 EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of Nebraska

Case number:          24−41182−TLS

Order of Discharge                                                                                                                 12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Phyllis Patrice Medrano


             3/17/25                                                        By the court: Thomas L. Saladino
                                                                                          United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                             This order does not prevent debtors from paying
and it does not determine how much money, if                               any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                       debts according to the reaffirmation agreement.
                                                                           11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                  Most debts are discharged
attempt to collect a discharged debt from the                              Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                 all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                            personal liability for debts owed before the
or otherwise try to collect from the debtors                               debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                           Also, if this case began under a different chapter
in any attempt to collect the debt personally.                             of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                           to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                are discharged.

However, a creditor with a lien may enforce a                              In a case involving community property: Special
claim against the debtors' property subject to that                        rules protect certain community property owned
lien unless the lien was avoided or eliminated.                            by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                              not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
